 Case 1:24-cv-00186-WS-M      Doc# 1      Filed 06/09/24   Page 1 of 23       PageID# 1




                   UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION


DOMINICK RUSSO; JAMES
RUSSO; FFC SEAFOOD, INC.,                       Civil Action No. __________

                              Plaintiffs,

        v.

GINA RAIMONDO, in her official                  COMPLAINT
capacity as Secretary of the United
States Department of Commerce;
JANET COIT, in her official capacity as
Assistant Administrator for Fisheries;
and NATIONAL MARINE FISHERIES
SERVICE,

                            Defendants.


                                INTRODUCTION

        1.   Plaintiffs are individual fishermen and a family-owned business that

fish in the Gulf of Mexico. Among the fish that they rely on are gag grouper, a reef

fish.

        2.   A regulation issued by the National Marine Fisheries Service has

slashed the number of gag grouper available to Plaintiffs by over 80%.

        3.   This regulation, however, was unlawfully promulgated. Under the

relevant rulemaking provisions, the National Marine Fisheries Service is only

permitted to promulgate a final rule that has been approved by a federal

policymaking body called the Gulf of Mexico Fishery Management Council.




                                            1
 Case 1:24-cv-00186-WS-M       Doc# 1     Filed 06/09/24   Page 2 of 23    PageID# 2




      4.     The Gulf Council, however, has not lawfully approved the rule at issue.

While individuals purporting to hold Council seats voted in favor of the rule, they

were never appointed to the Council pursuant to the Appointments Clause of the

Constitution, which is the exclusive method of filling Council seats. These individuals

therefore never wielded the Council’s power, and their actions as Council members

are void.

      5.     The Council has also failed to lawfully approve the rule at issue because

its members cannot legally wield executive power. The Council members’ tenure

protections insulate them from Presidential removal in violation of the Executive

Vesting Clause and the Take Care Clause. Due to these unconstitutional restrictions

on removal, the Council members never lawfully wielded the Council’s power, and

their actions as Council members are void.

      6.     Without the Council’s lawful approval, the National Marine Fisheries

Service was not empowered to issue the regulation. The Court should therefore vacate

the regulation.

                          JURISDICTION AND VENUE

      7.     The Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331

(federal question jurisdiction); id. § 2201 (authorizing declaratory relief); id. § 2202

(authorizing injunctive relief); 16 U.S.C. § 1855(f) (providing for judicial review of

Magnuson-Stevens Act regulations pursuant to the Administrative Procedure Act);

and id. § 1861(d) (providing district court jurisdiction over cases arising under the

Magnuson-Stevens Act).




                                           2
 Case 1:24-cv-00186-WS-M          Doc# 1      Filed 06/09/24   Page 3 of 23   PageID# 3




      8.     Venue in the Southern District of Alabama is proper pursuant to 28

U.S.C. § 1391(e) because a substantial part of the events or omissions giving rise to

the claim occurred in the District.

                                       PARTIES

                                           Plaintiffs

      9.     Plaintiff Dominick Russo is thirty-seven years old and lives in Sarasota,

Florida. Dominick owns 50% of Plaintiff FFC Seafood, Inc. (“FFC Seafood”) and is the

Vice President of FFC Seafood. Dominick started in the commercial-fishing industry

when he was 13 years old.

      10.    Plaintiff James Russo is forty-seven years old and lives in Tampa,

Florida. James owns 50% of Plaintiff FFC Seafood and is the President of FFC

Seafood. James has been in the commercial-fishing industry for 30 years.

      11.    Plaintiffs James and Dominick Russo are commercial fishermen who

work in the fisheries managed by the Council. They possess the vessel, gear, and

permit necessary to fish for gag grouper. They have fished for gag grouper in the past

and intend to fish for gag grouper this year. They intend to fish for gag grouper in

future years as well. They would fish for more gag grouper than the allotted quota

this year and in the future but for the Final Rule’s limit on the amount of gag grouper

that can be fished in a season.

      12.    Plaintiff FFC Seafood is a commercial fishing business located in

Sarasota, Florida. FFC Seafood possess the necessary permits to catch gag grouper

in the Gulf of Mexico and it runs two commercial fishing boats.




                                               3
 Case 1:24-cv-00186-WS-M         Doc# 1     Filed 06/09/24   Page 4 of 23     PageID# 4




        13.    FFC Seafood boats actively catch gag grouper during the season.

Amendment 56 significantly reduces the amount of gag grouper FFC Seafood is

allowed to catch in a season. FFC Seafood intends to continue to fish for gag grouper

to the extent permitted by law.

                                        Defendants

        14.    Gina Raimondo is the Secretary of Commerce and is charged with

administering the Magnuson-Stevens Act. She is sued in her official capacity only.

        15.    Janet Coit is the Assistant Administrator for Fisheries, which directs

the National Marine Fisheries Service. The Secretary of Commerce has delegated to

the NOAA Administrator the authority to administer the relevant portions of the Act;

and the NOAA Administrator has subdelegated that authority to the Assistant

Administrator. Pursuant to that authority, the Assistant Administrator determined

that the final rule is consistent with applicable law. She is sued in her official capacity

only.

        16.    The National Marine Fisheries Service (“NMFS”), also known as NOAA

Fisheries, is an agency within the Department of Commerce. NMFS is responsible for

the promulgation of the final rule. 89 Fed. Reg. 40,419 (May 10, 2024) (“Final Rule”).

                              FACTUAL ALLEGATIONS

        17.    Plaintiffs fish in the waters managed by the Council and are reliant on

fishing for their incomes.

        18.    Plaintiffs hold permits to fish for Gulf of Mexico reef fish, which includes

gag grouper.




                                             4
 Case 1:24-cv-00186-WS-M       Doc# 1    Filed 06/09/24   Page 5 of 23    PageID# 5




      19.    The federal fisheries of the Gulf of Mexico are governed, in part, by the

Fishery Management Plan (“FMP”) for the Reef Fish Resources of the Gulf of Mexico

(“Reef FMP”). The Reef FMP regulates and manages gag grouper and other reef fish.

Under the Plan, the Annual Catch Limits (“ACLs”) of gag grouper are divided

between recreational and commercial fishermen.

      20.    Fourteen of the fifteen present individuals purporting to hold Council

seats voted in favor of amending the Reef FMP in June 2023 at a meeting in Mobile,

Alabama. The amendment is known as Amendment 56.

      21.    At the time that NMFS and the Council developed Amendment 56, the

Council determined that NMFS could not likely implement a potential final rule

until 2024. However, it determined that maintaining the previously implemented

catch limits for gag in 2023 would continue to allow overfishing. Therefore, the

Council requested NMFS implement interim measures to reduce gag stock ACL from

3.120 million pounds to 661,901 pounds. NMFS agreed and implemented these

interim measures through a temporary rule effective on May 3, 2023. 88 Fed. Reg.

27,701 (May 3, 2023). The measures in the temporary rule were initially effective for

180 days, and then NMFS extended them for up to 186 additional days, through May

2, 2024, 88 Fed. Reg. 69,553 (Oct. 6, 2023), providing NMFS time to solicit and review

public comments on the proposed rule and Amendment 56 and prepare final

regulations as appropriate.

      22.    Because NMFS found that the harvest of gag grouper would reach the

new interim quota on October 19, 2023, NMFS announced on September 29, 2023,




                                          5
 Case 1:24-cv-00186-WS-M       Doc# 1      Filed 06/09/24   Page 6 of 23    PageID# 6




that the commercial harvest of gag grouper in federal waters of the Gulf of Mexico

would close at 12:01 a.m., local time, on October 19, 2023, until the 2024 fishing

season opened.1

      23.    On    October   18,   2023,    NMFS     announced    the   availability   of

Amendment 56 to the Reef FMP and requested comments. 88 Fed. Reg. 71,812

(Oct. 18, 2023).

      24.    Amendment 56 lowered the total gag grouper Acceptable Biological

Catch from 3,120,000 pounds to 444,000 pounds and revised the sector allocations in

favor of the recreational fishermen. Previously, the sector allocations were 39% of the

overall quota for the commercial sector and 61% for the recreational sector.

Amendment 56 lowered the commercial sector allocation to 35% and raised the

recreational sector allocation to 65%. These decisions resulted in a revised

commercial ACL of 155,000 pounds and a revised recreational ACL of 288,000

pounds. Id. at 77,249. The Acceptable Catch Targets (the actual quotas under which

fishermen operate after a buffer is applied to reduce the risk of hitting the ACL) were

reduced even further, to only 147,000 pounds for the entire commercial sector.

      25.    NMFS determined Amendment 56 was lawful on January 17, 2024. 89

Fed. Reg. at 40,419.

      26.    The putative Council members also approved a proposed regulation to

implement Amendment 56. After their approval, NMFS determined the proposed rule



1 Recreational Closure of Gag Harvest in Federal Waters of the Gulf of Mexico, NOAA

Fisheries (Sept. 29, 2023), https://www.fisheries.noaa.gov/bulletin/recreational-
closure-gag-harvest-federal-waters-gulf-mexico.


                                            6
 Case 1:24-cv-00186-WS-M       Doc# 1   Filed 06/09/24   Page 7 of 23     PageID# 7




was lawful and, on November 9, 2023, published the proposed rule for comment. 88

Fed. Reg. 77,246.

      27.    On May 10, 2024, NMFS published the Final Rule implementing

Amendment 56. The changes—which reflect a nearly 85% decrease in the commercial

catch limit for gag grouper from 2023 to 2024—are effective June 1, 2024.

                               LEGAL BACKGROUND

                         Federal Fisheries Management

      28.    In the United States, the state and federal governments share authority

to regulate ocean fisheries. States govern nearshore waters, from the shoreline to

three nautical miles (nine nautical miles in the case of Texas and the west coast of

Florida), while federal authority extends from the state seaward boundary to

200 nautical miles offshore.

      29.    Federal fisheries are regulated principally through the Magnuson-

Stevens Fishery Conservation and Management Act, 16 U.S.C. §§ 1801–1891d (the

“Magnuson-Stevens Act” or “Act”). The Act’s purpose is to provide a framework for

the management of fisheries to maximize their long-term benefits, including for

commercial fishermen. See 16 U.S.C. §§ 1801, 1851.

      30.    This purpose is realized through FMPs and FMP amendments, which

are developed by the eight Regional Fishery Management Councils and then

approved as lawful by the Secretary or her delegate. See id. §§ 1852, 1854(a).




                                          7
 Case 1:24-cv-00186-WS-M        Doc# 1      Filed 06/09/24   Page 8 of 23   PageID# 8




       31.    The Secretary may assist in the councils’ development of FMPs through

“advisory guidelines,” but these guidelines “shall not have the force and effect of law.”

Id. § 1851(b).

       32.    Approved FMPs and FMP amendments are implemented through

regulations, which are proposed by the regional councils and then approved as lawful

and promulgated by the Secretary or her delegate. See id. §§ 1853(c), 1854(b).

       33.    Although FMPs, FMP amendments, and implementing regulations are

subject to the Secretary’s approval, she may only reject a measure if it violates

applicable law; she is not empowered to object to these measures on policy grounds.

See id. § 1854(a)(3), (b)(1).

       34.    The Secretary must consult with the Council before making any

revisions to the Council’s proposed regulations, id. § 1854(b)(3), but the Secretary has

no authority to compel a consultation. See Oceana, Inc. v. Ross, No. 17-cv-5146,

Docket No. 124, at 8–9 (C.D. Cal. Nov. 18, 2019) (government brief) (“NMFS has

repeatedly attempted to consult with the Pacific Council,” but “NMFS lacks the

authority to compel the independent Pacific Council to place this item on its agenda

or deliberate further on this subject.”).

       35.    The Secretary has delegated her authority under the Act to approve as

lawful FMPs, FMP amendments, and implementing regulations to the NOAA

Administrator, who has delegated his authority to the Assistant Administrator for

Fisheries. NOAA, NOAA Organizational Handbook: Transmittal No. 61, at 2–3 (Feb.




                                             8
 Case 1:24-cv-00186-WS-M      Doc# 1    Filed 06/09/24   Page 9 of 23   PageID# 9




24, 2015) (“NOAA Handbook”). The Assistant Administrator for Fisheries is neither

nominated by the President nor confirmed by the Senate.

      36.   The Assistant Administrator has further subdelegated rulemaking

powers to the NMFS Deputy Assistant Administrator for Regulatory Programs

(“DAARP”). See NOAA Handbook at 5. The DAARP, who manages policy and

regulations within NMFS, may exercise these rulemaking powers without the

concurrence of the Assistant Administrator or other senior officials. The current

DAARP is Samuel D. Rauch III, a career civil servant.

      37.   Mr. Rauch approved the Final Rule for publication in the Federal

Register.

                   Regional Fishery Management Councils

      38.   The Gulf of Mexico Fishery Management Council (“Council”) is one of

eight regional fishery management councils established by the Magnuson-Stevens

Act. The Magnuson-Stevens Act created the Council to be an independent

policymaking body and to manage fisheries in federal waters seaward of the state

boundaries of Texas, Louisiana, Mississippi, Alabama, and Florida. 16 U.S.C.

§ 1852(a)(1)(E) (the Council “shall have authority over the fisheries in the Gulf of

Mexico” (emphasis added)).

      39.   The Council is an independent entity within the Executive Branch, not

contained within any other agency or Executive Department.




                                         9
Case 1:24-cv-00186-WS-M         Doc# 1    Filed 06/09/24   Page 10 of 23     PageID# 10




      40.       The Council has 17 voting members. Id. A quorum is a majority of the

Council, and the Council acts by majority vote of those present and voting. Id.

§ 1852(e)(1).

      41.       The Act provides that one voting member of the Council is “[t]he regional

director of [NMFS] for the geographic area concerned, or his designee . . . .” Id.

§ 1852(b)(1)(B). The relevant official here is the Regional Administrator for NMFS’s

Southeast Regional Office.

      42.       The Southeast Regional Administrator has not been appointed by the

President, a head of department, or a court of law.

      43.       The Southeast Regional Administrator is a career official in the Senior

Executive Service. He is removable only for cause. 5 U.S.C. §§ 3592, 7541-43.

      44.       The Act also provides that five voting members of the Council are the

principal state officials with marine fishery management responsibility and expertise

in each constituent state, who are designated as such by the governors or their

respective states, so long as the officials continue to hold such position, or the

designees of such officials. See 16 U.S.C. § 1852(b)(1)(A).

      45.       The Act does not permit the President or the Secretary to remove the

five state officials from the Council.

      46.       The Act provides that the remaining eleven members are nominated by

the governors of Texas, Louisiana, Mississippi, Alabama, and Florida. Id.

§ 1852(b)(2)(C). The Secretary must select from the governors’ nominees for these

eleven seats. Id. § 1852(a)(1)(E).




                                            10
Case 1:24-cv-00186-WS-M        Doc# 1     Filed 06/09/24     Page 11 of 23     PageID# 11




       47.    One member must be appointed from each member state, and the

remaining six at-large members may be appointed from any member-state governor’s

list of nominees. See id.; 50 C.F.R. § 600.215(a)(2)(iii).

       48.    The Secretary may reject a slate of nominees for a position only if the

nominees fail to satisfy certain minimal objective qualifications provided by statute,

in which case the governor may revise the list or resubmit the original list with

additional explanations of the individuals’ qualifications. Id. The Secretary may not

reject a slate of nominees on the basis of the nominees’ judgment, policy prescriptions,

or character. See id.

       49.    The Act permits the Secretary to remove a governor-nominated member

for only one of two reasons. First, if the Council recommends removal by a two-thirds

majority of voting members and states the basis for the recommendation. Id.

§ 1852(b)(6). Second, if the member violates 16 U.S.C. § 1857(1)(O), a financial

conflict-of-interest provision. Id. § 1852(b)(6).

                              The Appointments Clause

       50.    The Appointments Clause of the United States Constitution provides

that the President “shall nominate, and by and with the Advice and Consent of the

Senate, shall appoint” all “Officers of the United States.” U.S. Const. art. II, § 2, cl. 2.

       51.    This requirement applies to both principal (non-inferior) officers and

inferior officers, except that “Congress may by Law vest the Appointment of such

inferior Officers, as they think proper, in the President alone, in the Courts of Law,

or in the Heads of Departments.” Id.




                                            11
Case 1:24-cv-00186-WS-M       Doc# 1     Filed 06/09/24   Page 12 of 23     PageID# 12




      52.    The Clause’s main purpose is to ensure that government officials

wielding significant authority are accountable to the President and other

democratically accountable officers.

      53.    “[A]ny appointee exercising significant authority pursuant to the laws

of the United States is an ‘Officer of the United States,’ and must, therefore, be

appointed in the manner prescribed by” the Appointments Clause. Buckley v. Valeo,

424 U.S. 1, 126, 140–41 (1976) (per curiam).

      54.    The Appointments Clause is not limited to officials with authority to

“enter a final decision” on behalf of the United States; it applies to any official who

“exercise[s] significant discretion” in “carrying out . . . important functions.” Freytag

v. Commissioner, 501 U.S. 868, 881–82 (1991).

      55.    Rulemaking is a significant authority which only an officer may

exercise. Buckley, 424 U.S. at 140–41.

      56.    A person exercising officer powers may be appointed as an inferior

officer if his “work is directed and supervised at some level by others who were

appointed by Presidential nomination with the advice and consent of the Senate.”

Edmond v. United States, 520 U.S. 651, 663 (1997).

      57.    A “timely” petitioner challenging a final action of an improperly

appointed officer, if successful, is “entitled” to “whatever relief may be appropriate,”

including having the action set aside. See Ryder v. United States, 515 U.S. 177, 182–

83 (1995) (The de facto officer doctrine does not apply where the Appointments Clause




                                           12
Case 1:24-cv-00186-WS-M         Doc# 1        Filed 06/09/24   Page 13 of 23   PageID# 13




is at issue, because it is a “basic constitutional protection[] designed in part for the

benefit of litigants.” (citation omitted)).

             The Executive Vesting Clause and The Take Care Clause

       58.     Article II’s Executive Vesting Clause, together with the Take Care

Clause, empowers the President to remove officers at will. Free Enter. Fund v. Public

Co. Acct. Oversight Bd., 561 U.S. 477, 484, 492 (2010); Seila Law LLC v. Consumer

Fin. Prot. Bureau, 591 U.S. 197, 218 (2020). The removal power ensures that officers,

once appointed, remain under the President’s control so that he can ensure—and be

accountable for—the faithful execution of the laws. This power persists even if the

President can control an officer through other means, such as the budget process and

regulations. Free Enter. Fund, 561 U.S. at 504.

       59.     Congress may bestow tenure protection only on two small categories of

officers: (1) “multimember bod[ies] of experts, balanced along partisan lines, that

perform legislative and judicial functions and [are] said not to exercise any executive

power,” and (2) “inferior officers with limited duties and no policymaking or

administrative authority.” Seila Law, 140 S. Ct. at 2199–2200.

       60.     Even among the two categories of officers who may enjoy tenure

protection, the protection must be “[]appropriate for officers wielding the executive

power of the United States.” Free Enter. Fund, 561 U.S. at 503. Thus, Congress “may

not eliminate the President’s removal power altogether” for any officer. Seila Law,

140 S. Ct. at 2205. And Congress may not create more than one level of tenure

protection—that is, grant tenure protection to an officer who may be removed only by




                                               13
Case 1:24-cv-00186-WS-M       Doc# 1    Filed 06/09/24    Page 14 of 23    PageID# 14




another officer with tenure protection. Free Enter. Fund, 561 U.S. at 493. No tenure

protection may be so stringent as to “impede the President’s ability to perform his

constitutional duty.” Seila Law, 140 S. Ct. at 2199 (alteration omitted) (quoting

Morrison v. Olson, 487 U.S. 654, 691 (1988)).

        DECLARATORY AND INJUNCTIVE RELIEF ALLEGATIONS

      61.    Each of the Plaintiffs has a significant interest in whether the Final

Rule was lawfully promulgated. The Final Rule significantly reduces gag grouper

fishing opportunities for all Plaintiffs, inflicting detrimental financial impacts, in

addition to reducing the value of the Russo brother’s permits, vessels, and gear.

Therefore, a decision declaring unlawful and voiding the Secretary’s promulgation of

the Final Rule’s quota allocations would remedy these injuries by preserving the

value of Plaintiffs’ assets and enabling Plaintiffs to continue to catch gag grouper at

their current rates.

      62.    Plaintiffs have no plain, speedy, and adequate remedy at law for their

injuries. Money damages in this case are not available.

      63.    This case is currently justiciable because the Final Rule reduced the

commercial catch limits of gag grouper beginning on June 1, 2024.

                              CLAIMS FOR RELIEF

                         COUNT I: Appointments Clause

    Issuance of a Rule by the National Marine Fisheries Service Not in
  Accordance with Law, Contrary to Constitutional Right and Power, in
 Excess of Statutory Jurisdiction, Authority, and Limitations, and without
       Observance of Procedure Required by Law (5 U.S.C. § 706(2))

      64.    The preceding paragraphs are incorporated herein by reference.



                                          14
Case 1:24-cv-00186-WS-M       Doc# 1    Filed 06/09/24   Page 15 of 23     PageID# 15




      65.    Council seats are offices of the United States and so may be filled only

pursuant to the Appointments Clause, because the Council seats are continuing

positions vested with significant authority pursuant to the laws of the United States,

including rulemaking powers.

      66.    Council seats are continuing offices established by law. See 16 U.S.C.

§ 1852. The positions themselves are established by statute and continue in

perpetuity. Id. Eleven members serve, continuously, for a term of three years, which

can be extended for up to three consecutive terms. Id. § 1852(b)(3). The Act provides

that the five state Governor designees serve “so long as the official continues to hold

such position [as the principal state official with marine fishery management

responsibility and expertise]”—in other words, indefinitely. Id. § 1852(b)(1)(A). The

Regional Administrator also serves indefinitely.

      67.    Under the Magnuson-Stevens Act, the Secretary has no discretionary

authority over the FMPs or FMP amendments. The Secretary must, upon receiving

an FMP or FMP amendment prepared by a Council, immediately review it for

consistency with statutorily defined national standards and applicable law. 16 U.S.C.

§ 1854(a)(1)(A). The Secretary can only disapprove, fully or partially, an FMP or FMP

amendment prepared by a Council for inconsistency with applicable law and must

then report such inconsistency to the Council. Id. § 1854(a)(3). If the Secretary does

not make such a report, the FMP or amendment automatically goes into effect, as if

it had been approved by the Secretary. Id. § 1854(a)(3)(C). In other words, an FMP




                                          15
Case 1:24-cv-00186-WS-M        Doc# 1    Filed 06/09/24    Page 16 of 23     PageID# 16




amendment from the Council can go into effect without review by the Secretary. The

Secretary cannot reject an amendment for policy reasons.

      68.    Proposed Council regulations may be blocked only for inconsistency with

law, not policy. See id. § 1854(b). Thus, under the Act, the Council and its members

are endowed with significant authority to make federal fishery policy.

      69.    The Council also possesses significant authority because it decides when

the rulemaking process starts, its decisions have an independent effect because it is

the Council’s handiwork that is implemented, if approved, the Council assembles the

record on which any ultimate final rule is based, and the Council may block

Secretarial actions on policy grounds.

                              Unlawful Principal Officers

      70.    Council members must be appointed as principal officers because they

are not supervised by anyone who is appointed by the President with the advice and

consent of the Senate. By design, the Council is insulated from the President and

other executive officers. Council members are not removable at will but rather enjoy

extraordinarily strong protections against removal. See id. § 1852(b)(6). They have

wide discretion over policy decisions. See id. § 1854(a)(3), (b). And they operate largely

independent of external direction: they set their own priorities, establish and direct

their own staff, and create their own operating procedures. Id. § 1852(e), (g)–(i).

      71.    Council members must be appointed as principal officers for an

independent reason. Because the Council is a freestanding entity within the

Executive Branch, it constitutes an Executive department for constitutional




                                           16
Case 1:24-cv-00186-WS-M         Doc# 1       Filed 06/09/24   Page 17 of 23   PageID# 17




purposes, and the Council members collectively constitute a head of a department.

Free Enter. Fund, 561 U.S. at 511. Heads of departments, by definition, must be

appointed as principal officers. Freytag, 501 U.S. at 884.

       72.    Despite the requirement that they be appointed as principal officers, the

putative Council members were not appointed through presidential nomination and

Senate confirmation. The putative Council members therefore exercise their powers

unconstitutionally.

   Unlawful Inferior Officers—Appointment by Constitutionally Ineligible Persons

       73.    Even if Council members need only be appointed as inferior officers,

such appointment has not taken place.

       74.    The default appointment procedure for inferior officers is presidential

appointment with Senate confirmation. Edmond, 520 U.S. at 660.

       75.    The Constitution permits Congress to loosen this requirement only

within strict limits: Congress may only vest the appointment of inferior officers in the

President, the courts of law, or the heads of departments; and Congress must do so

“by Law.” U.S. Const. art. II, § 2, cl. 2.

       76.    Congress has not vested the appointment of Council members in the

President, a court of law, or a head of department. Nor were they appointed thereby.

Accordingly, even if Council members need only be appointed as inferior officers, the

putative members still exercise their powers unconstitutionally.




                                              17
Case 1:24-cv-00186-WS-M          Doc# 1   Filed 06/09/24   Page 18 of 23   PageID# 18




                         Unlawful Issuance of the Final Rule

      77.    Amendment 56 and its implementing regulation were adopted by the

17 individuals who claim to be members of the Council but who were not appointed

to that body pursuant to the Appointments Clause. The actions of these 17 individuals

acting as Council members are therefore void. Because the Final Rule was issued

under provisions of the Magnuson-Stevens Act that require the Gulf Council to have

first validly adopted an amendment and implementing regulation before the

Secretary (or her delegate) may promulgate a regulation, the promulgation of the

Final Rule was “not in accordance with law,” “in excess of statutory jurisdiction,

authority, or limitations,” “without observance of procedure required by law,” and

“contrary to constitutional right [and] power.” 5 U.S.C. § 706(2).

       COUNT II: The Executive Vesting Clause and Take Care Clause

    Issuance of a Rule by the National Marine Fisheries Service Not in
  Accordance with Law, Contrary to Constitutional Right and Power, in
 Excess of Statutory Jurisdiction, Authority, and Limitations, and Without
        Observance of Procedure Required by Law (5 U.S.C. § 706(2))

      78.    The preceding paragraphs are incorporated herein by reference.

      79.    For reasons discussed in the First Claim for Relief, Council members are

officers of the United States.

      80.    The Executive Vesting Clause, together with the Take Care Clause,

requires that officers be removable by the President, so that he may oversee and

thereby take responsibility for their actions.

      81.    Only two types of officers may enjoy tenure protection. But the Council

is neither (1) a “multimember body of experts, balanced along partisan lines, that



                                           18
Case 1:24-cv-00186-WS-M       Doc# 1    Filed 06/09/24    Page 19 of 23     PageID# 19




perform[] legislative and judicial functions and [is] said not to exercise any executive

power,” nor does it comprise (2) “inferior officers with limited duties and no

policymaking or administrative authority.” Seila Law, 140 S. Ct. at 2199–2200. Thus,

no Council member may have any sort of tenure protection; each must be removable

at will. Their tenure protections violate the Executive Vesting Clause and the Take

Care Clause.

      82.      Even if Council members were permitted to enjoy tenure protections,

the tenure protections here are so stringent as to impede the President’s oversight

and therefore violate the Executive Vesting Clause and the Take Care Clause.

      83.      The five state officials are not removable at all by the President or

another officer of the United States, which arrangement violates the Executive

Vesting Clause and the Take Care Clause.

      84.      The eleven Council members nominated by the governors may be

removed by the Secretary through only one of two methods: (1) if two-thirds of the

Council agrees, or (2) if these members violate certain financial conflict-of-interest

provisions. 16 U.S.C. § 1852(b)(6)(A)–(B).

      85.      The first removal method creates more than one layer of tenure

protection, because to remove a Council member, the Secretary must first gain the

assent of other Council members, who are similarly protected. In fact, this removal

method creates interminable layers of tenure protection because the protection is

recursive: to remove a Council member, the Secretary must gain the assent of other

Council members, none of whom can be removed without the assent of other Council




                                          19
Case 1:24-cv-00186-WS-M       Doc# 1    Filed 06/09/24   Page 20 of 23     PageID# 20




members, none of whom can be removed without the assent of other Council

members, and so forth and so on. The result is that just over one-third of the Council,

if united, can frustrate all attempts of removal under this pathway. This level of

protection prevents the President from holding the Council to account and therefore

does not satisfy the Executive Vesting Clause and the Take Care Clause.

      86.    The second removal method is not a removal provision that permits the

President to take care that the laws be faithfully executed, because it is not

substantially related to the performance of Council members’ duties. Removal

provisions do not satisfy the Executive Vesting Clause and the Take Care Clause

simply by technically permitting removal in narrow circumstances. See Free Enter.

Fund, 561 U.S. at 503 (noting that some removal standards may “be inappropriate

for officers wielding the executive power of the United States”).

      The President must be able to remove . . . officers who disobey his
      commands [and] also those he finds negligent and inefficient, those who
      exercise their discretion in a way that is not intelligent or wise, those
      who have different views of policy, those who come from a competing
      political party who is dead set against the President’s agenda, and those
      in whom he has simply lost confidence.

Collins v. Yellen, 141 S. Ct. 1761, 1787 (2021) (cleaned up).

      87.    What’s more, the second removal method would not permit removal even

of a member who flagrantly abuses his power, engages in nepotism, or engages in

criminal malfeasance while in office, so long as he scrupulously divulges his financial

interests and recuses himself from appropriate Council decisions. For example, so

long as members avoid financial conflicts of interests, they may openly violate every

regulation-created rule that purports to govern their conduct, see 50 C.F.R. § 600.225



                                          20
Case 1:24-cv-00186-WS-M      Doc# 1    Filed 06/09/24   Page 21 of 23     PageID# 21




(prohibiting abusing one’s office to interfere with an election, restricting lobbying

activities, forbidding adverse action against Council employees based on political

affiliation or activity, and prohibiting criminal and dishonest conduct), yet

successfully resist removal. The second pathway to removal therefore does not satisfy

the Executive Vesting Clause and the Take Care Clause.

      88.    For the foregoing reasons, 16 of the 17 Council members’ removal

protections violate the Executive Vesting Clause and the Take Care Clause because

the President is not capable of overseeing the Council’s agenda or actions.

                        Unlawful Issuance of the Final Rule

      89.    Amendment 56 and its implementing regulation were adopted by the

17 individuals who claim to exercise executive power as members of the Council but

whose tenure protections violate the Executive Vesting Clause and the Take Care

Clause. The actions of these 17 individuals acting as Council members are therefore

void. Because the Final Rule was issued under provisions of the Magnuson-Stevens

Act that require the Gulf Council to have first validly adopted an amendment and

implementing regulation before the Secretary (or her delegate) may promulgate a

regulation, the promulgation of the Final Rule was “not in accordance with law,” “in

excess of statutory jurisdiction, authority, or limitations,” “without observance of

procedure required by law,” and “contrary to constitutional right [and] power.” 5

U.S.C. § 706(2).




                                         21
Case 1:24-cv-00186-WS-M       Doc# 1    Filed 06/09/24   Page 22 of 23   PageID# 22




                              PRAYER FOR RELIEF

      Plaintiffs request the following relief:

      1.     A judgment declaring that the Final Rule is void because the

17 individuals purporting to be Council members were not appointed pursuant to the

Appointments Clause and could not validly adopt Amendment 56 or its implementing

regulation, and that, without a validly adopted Council measure, the Secretary and

NMFS lacked the power to promulgate the Final Rule;

      2.     A judgment declaring that the Final Rule is void because the

17 individuals purporting to be Council members have tenure protections that

unconstitutionally insulate them from Presidential removal under the Executive

Vesting Clause and Take Care Clause and therefore, they could not validly adopt

Amendment 56 or its implementing regulation, and without a validly adopted Council

measure, the Secretary and NMFS lacked the power to promulgate the Final Rule;

      3.     A permanent prohibitory injunction setting aside the Final Rule and

forbidding Defendants from enforcing it;

      4.     An award of reasonable attorney fees and costs, pursuant to 28 U.S.C.

§ 2412, or any other applicable authority; and

      5.     An award of any further relief that this Court deems just and proper.



      Dated: June 9, 2024.

                                        Respectfully submitted,

                                        /s/Michael Poon
                                        MICHAEL POON*



                                           22
Case 1:24-cv-00186-WS-M   Doc# 1   Filed 06/09/24   Page 23 of 23   PageID# 23




                                   PACIFIC LEGAL FOUNDATION
                                   555 Capitol Mall
                                   Suite 1290
                                   Sacramento, CA 95814
                                   Tel.: (916) 419-7111
                                   MPoon@pacificlegal.org
                                   * Pro hac vice pending

                                   Attorney for Plaintiffs




                                     23
